Case 1:23-md-03089-BMC Document 193 Filed 04/04/24 Page 1 of 1 PageID #: 2293




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

IN RE: ORAL PHENYLEPHRINE
MARKETING AND SALES PRACTICES
LITIGATION
                                                Case No. 1:23-md-03089-BMC
                                                District Judge Brian M. Cogan

This Document Relates to:
ALL ACTIONS




                                   APPEARANCE OF COUNSEL

       To: The clerk of the court and all parties of record

PLEASE TAKE NOTICE that Daniel R. Schwartz of DiCello Levitt LLP, Ten North Dearborn

Street, Sixth Floor Chicago, Illinois 60602, hereby enters an appearance as counsel for Plaintiff

Erin Barton in the above-captioned action.




Date: April 4, 2024                             _________________________
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